         Case 1:21-mi-55555-JPB Document 535-17 Filed 04/24/23 Page 1 of 3
                                             Ex. O
      NADINE WILLIAMS· 30(b)(6)                                     April 05, 2023
      IN RE GEORGIA SENATE BILL 202                                              1

·1· · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · FOR THE NORTHERN DISTRICT OF GEORGIA
·2· · · · · · · · · · ·ATLANTA DIVISION

·3
· ·   ·IN   RE:· · · · · · · · · · · · )· ·Master Case No.
·4·   · ·   · · · · · · · · · · · · · ·)
· ·   · ·   GEORGIA SENATE BILL 202· · )· ·1:21-MI-55555-JPB
·5·   · ·   · · · · · · · · · · · · · ·)
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·9· · ·RULE 30(b)(6) DEPOSITION OF FULTON COUNTY BOARD OF

10· · · · · · · · ·REGISTRATION AND ELECTIONS

11· · · · · · · ·BY NADINE WILLIAMS, a Witness,

12· · · · · · ·Taken by Counsel for the Plaintiffs

13· · · · · · · ·Before Richard Bursky, RMR, CRR

14· · · · · · · · · ·Certified Court Reporter

15· · · · At the Offices of the Fulton County Attorney

16· · · · · ·141 Pryor Street, SW, Atlanta, Georgia

17· · · · · On April 5, 2023, commencing at 10:05 a.m.

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   NADINE WILLIAMS· 30(b)(6)                                     April 05, 2023
   IN RE GEORGIA SENATE BILL 202                                            206

·1· · · ·Q· · So in subsequent elections, your wait times
·2· ·went down, correct?
·3· · · ·A· · Yes.
·4· · · ·Q· · That happened even before SB202 was passed,
·5· ·correct?
·6· · · ·A· · Yes.
·7· · · ·Q· · So it was not the result of the changes in
·8· ·SB202, but rather the other changes that Fulton County
·9· ·made in response to what happened in June of 2020,
10· ·right?
11· · · ·A· · Yes.
12· · · ·Q· · Did Fulton County experience wait times longer
13· ·than one hour during advanced voting in the 2022
14· ·general election?
15· · · ·A· · Yes, not for the general, but the runoff.
16· · · ·Q· · We will get to the runoff in a second, but in
17· ·general was that the case?
18· · · ·A· · No, I don't believe there was any.
19· · · ·Q· · What about for Election Day in the general
20· ·2022?
21· · · ·A· · No.
22· · · ·Q· · Now for the runoff, did Fulton County
23· ·experience wait times longer than an hour?
24· · · ·A· · For advanced voting, yes, but for Election
25· ·Day, no.


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     NADINE WILLIAMS· 30(b)(6)                                     April 05, 2023
     IN RE GEORGIA SENATE BILL 202                                            296

·1· · · · · · · · CERTIFICATE OF COURT REPORTER

·2

·3· ·STATE OF GEORGIA· · ·)

·4· ·COUNTY OF HENRY· · · )

·5

·6· · · I hereby certify that the foregoing deposition was

·7· ·reported as stated in the caption, by the method of

·8· ·stenography, and the questions and answers thereto were

·9· ·reduced to typewriting by me; that the foregoing pages

10· ·represent a true, correct, and complete transcript of

11· ·the evidence given on April 5, 2023 by the witness,

12· ·NADINE WILLIAMS, who was first duly sworn by me.

13· · · This the 8th day of April, 2023.

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· · · · · · · · · · · · ·______________________________
21· · · · · · · · · · · · Richard Bursky, RMR, CRR, CCR
· · · · · · · · · · · · · Certified Court Reporter #2509
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